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l Case 2:04-cv-02102-.]PI\/|-STA Document 20 Filed 05/13/05 Page 1 of 5 Page|D 30

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iii ig :';: l':`ti.l i-,,-` j"-"l'l'ié
JIFLiA J. 'McM L‘LIAN,
Plaintiff,
VS NO. 04-2] 02 Ma-An ,
RONNIE L. EVATT and - ` - 0 m& OLQ_Q)
CENTRALINDUSTRIAL session GttAtt-'tt§ift m , fm y;§§l;§,§";;;§ih§-z"'~."
Defendants. l' !`§ l

 

 

MOTION TO EXTEND DEADLINES

 

Cornes the Plaintiff, by her counsel of record, and Submits this Motion requesting that the
Court extend Certain deadlines previously set by the Scheduling Order entered by the Court. The
Plaintit`f and Defendants have agreed to mediate this case. In support of said Motion, the
Plaintiff would show as follows:

l. This case is set for trial on September 26, 2005.

2. The Pretrial Conference is set on Septeniber 20, 2005.

3. The Joint Pretrial Order is due Septeinber l3, 2005.

4. The P]aintiff requests that the discovery deadlines be extended as follows:
a. Requests for Production, Inten‘ogatories, Request for Admissions:
May 15, 2005
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Case 2:O4-cv-O2lO2-.]PI\/|-STA Document 20 Filed 05/13/05 Page 2 of 5 Page|D 31

5.

b. Expert Disclosure
(i) Plaintit`t"s expert: June l3, 2005
(ii) Defendant’s experts; July IS, 2005
(iii) Supplementation under Rule 26(e): July 3l, 2005
c. Deposition of Fact Witnesses: June 27, 2005
d. Expert: August 15, 2005
e_ Filing Disposition Motions: Septernber l, 2005
d. Final lists ofwitnesses:
(i) From Plaintiff: Septeinber l, 2005
(ii) From Defendant: Septeinber 7, 2005

Parties shall have five (5) days after service of final lists of Witnesses and exhibits

to tile objections under Rule 26(a)(3).

6.

7.

The trial is expected to last three (3) days.

While Defendants are not filing this motion jointly, they are not opposed

WHEREFORE, PREMISES CONSIDERED, the parties respectfully ask that the

Court extend the discovery deadline as follows:

l .

2.

This case is set for trial on September 26, 2005.

The Pretrial Conference is set on September 20, 2005.
The Joint Pretrial Order is due September 13, 2005.
The discovery deadlines Will be extended as follows:

a. Requests for Production, lnterrogatories, Request for Admissions:
May 15, 2005 .

Case 2:04-cv-02102-.]P|\/|-STA Document 20 Filed 05/13/05 Page 3 of 5 Page|D 32

b. Expert Disclosure
(i) Plaintit`t’s expert: June ]3, 2005
(ii) Defendant’s experts: July lS, 2005
(iii) Supplernentation under Rule 26(e): July 31, 2005
c. Deposition of Fact Witnesses: June 27, 2005
d. Expeit: August 15, 2005
e. Filing Disposition Motions: September l, 2005
d. Final lists ofwitnesses:
(i) From Plaintift`: Septernber l, 2005
(ii) From Det`endant: Septernber 7, 2005
5. Parties shall have five (5) days after service of final lists of Witnesses and exhibits
to tile objections under Rule 26(a)(3).
Respectfully submitted:

Danese K. Banks, Esq. (BPR #17705)
THE COCHRAN FIRM f MEMPHIS
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Memphis, Tennessee 38103

(901) 523-1222

Case 2:04-cv-02102-.]P|\/|-STA Document 20 Filed 05/13/05 Page 4 of 5 Page|D 33

CERTIFICATE OF SERVICE
The undersigned certifies that a true copy of this pleading or document was served upon
counsel for the parties or the parties individually by mailing postage prepaid or by delivery to the
person or office of such counsel:
Richard Sorin, Esq.

Sl Monroe Avenue - Sixth Floor
Memphis, Tennessee 38103

this the forkday of May, 2005.

Danese K. Banl<s, Esq.

t`) TA"E DISTRICT oURT - WESTERNDT'!SRI' F TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:04-CV-02102 Was distributed by fax, mail, or direct printing on
May 18, 2005 to the parties listed.

 

 

Danese K. Banks

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8l l\/lonroe Ave.

Sixth Floor

l\/lemphis7 TN 38103--540

Honorable .l on l\/lcCalla
US DISTRICT COURT

